                                      Exhibit 6B
                            August 6, 2014 Hearing Transcript




13-53846-tjt   Doc 6982-8    Filed 08/22/14   Entered 08/22/14 16:24:26   Page 1 of 10
                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION
          IN RE:    CITY OF DETROIT,    .                  Docket No. 13-53846
                    MICHIGAN,           .
                                        .                  Detroit, Michigan
                                        .                  August 6, 2014
                         Debtor.        .                  9:00 a.m.
          . . . . . . . . . . . . . . . .

                 HEARING RE. STATUS CONFERENCE RE. PLAN CONFIRMATION
                   PROCESS (#6376) SIXTH AMENDED ORDER ESTABLISHING
                 PROCEDURES, DEADLINES AND HEARING DATES RELATING TO
                             THE DEBTOR'S PLAN OF ADJUSTMENT
                         BEFORE THE HONORABLE STEVEN W. RHODES
                          UNITED STATES BANKRUPTCY COURT JUDGE

          APPEARANCES:

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13-53846-tjt   Doc 6982-8   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 2 of 10
                                                                                            9

     1                THE COURT:      Good.

     2                MR. HACKNEY:      So kind of going maybe from the more
     3    mundane to the more philosophical, whether the Court has a

     4    problem with parties using video clips in the opening so long

     5    it's as -- so long as the video clip is of otherwise

     6    admissible deposition testimony, meaning rather than merely

     7    using transcripts; whether the Court would mind just

     8    approving now briefs in excess of the page limit on the post-

     9    trial briefs and supplemental objections because we intend

   10     them to be very substantive and evidence-based documents that

   11     will save you a bunch of ex parte motions; confirming that
   12     documents can be used for cross-examination even if they're
   13     not on a witness list under the custom of the idea that you

   14     don't know what you'll need to impeach a witness with, and it
   15     may not be on your exhibit list.             I have thoughts for the
   16     Court on how we might streamline the process of getting

   17     exhibits into evidence, particularly on the subject of
   18     authenticity.       I wanted to address with the Court motions in

   19     limine and Daubert motions that we intend to file and get a

   20     sense of both -- well, principally how you wanted to handle

   21     them and when you wanted to hear them.               Deposition

   22     designations are an important subject, your Honor, and I

   23     wanted to discuss that with you.             Post-trial findings of fact

   24     and conclusions of law are another one that's important.                      A

   25     more broad question, I think, I know that you noted was the




13-53846-tjt   Doc 6982-8   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 3 of 10
                                                                                         10

     1    question of time allocation both in terms of total time but

     2    also intracreditor time.
     3                The last one, your Honor, goes a little bit more to

     4    some of the issues we've raised before, for example, just

     5    sort of the impact on the case of things like when we're

     6    going to get the definitive documents on the DIA settlement,

     7    the LTGO settlement.         I've raised those with you before.                The

     8    ongoing DWSD issue, I want to discuss with you principally

     9    how we're supposed to try that up to you and then the issue

   10     of exit financing.        Those were my bullets, your Honor.

   11                 THE COURT:      Thank you.       Does anyone else have any
   12     other items to add for the agenda today?
   13                 MR. DECHIARA:          Good morning, your Honor.        Peter

   14     DeChiara for the UAW.         The UAW may have one additional item.
   15     We have a discrete supplemental discovery request to the
   16     city.    We've discussed it with the city.              The city may agree

   17     to provide it to us, in which case there will be no need to
   18     raise it with the Court.             We hope before the end of the
   19     hearing today we'll hear from the city on that matter.                      Thank

   20     you.

   21                 THE COURT:      Mr. Gordon.

   22                 MR. GORDON:      Good morning, your Honor.            Just one

   23     discrete item that kind of popped into my head this morning

   24     really, and I thought it was more maybe in the nature of a

   25     housekeeping matter, but since you're bringing this up now, I




13-53846-tjt   Doc 6982-8   Filed 08/22/14    Entered 08/22/14 16:24:26   Page 4 of 10
                                                                                        11

     1    just wanted to raise it.           I believe a couple of weeks ago in

     2    the context of a motion to quash a subpoena by Syncora, the
     3    Court asked in the middle of the hearing specifically about

     4    whether evidence of individual hardship was even relevant for

     5    purposes of the trial, and on the fly I think parties sort of

     6    agreed that that wouldn't be relevant.               However, I was

     7    concerned that maybe the record wasn't really clear because I

     8    think that the case law supports the concept that hardship on

     9    a more macroscopic level to the community, to individuals and

   10     the community as a whole in a Chapter 9 case is something

   11     that is relevant.        And I know that the city, in particular,

   12     cited in its consolidated reply the Barnwell Hospital case

   13     and the Corcoran Hospital case as well, so I wanted to make

   14     sure that everyone was clear as to the ability to present
   15     some evidence as to the hardship to the community as a whole
   16     of certain, you know, potential scenarios in connection with

   17     the plan and that those things could be relevant.
   18                 THE COURT:      Thank you.
   19                 MR. GORDON:      Thank you, your Honor.

   20                 THE COURT:      Any others?      I actually have a couple

   21     myself.     I'm sorry, sir.        Were you standing?

   22                 MR. QUINN:      Yes, your Honor.       Your Honor, John

   23     Quinn.    I think the Court should address the question of how

   24     to provide an opportunity for individual objectors to cross-

   25     examine witnesses and present evidence without extending the




13-53846-tjt   Doc 6982-8   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 5 of 10
                                                                                        12

     1    trial unduly and causing confusion.

     2                THE COURT:      All right.      We'll add that to the
     3    agenda.     I actually have a couple of additions myself.                An

     4    issue I've been struggling with is -- one second.                  Chris, is

     5    there a Bankruptcy Code here?            Yes, there is.        One second,

     6    please.     An issue that I've been struggling with here and

     7    that I'd like to discuss with you how to process is the issue

     8    of the meaning of Section 943(b)(3) relating to fees and the

     9    question of to what extent does that provision give the Court

   10     jurisdiction over fees, whether it's fees of the city's

   11     professionals or creditors' professionals or otherwise, so
   12     let's put that on the agenda.            And, finally, probably at the
   13     very end, I need to meet with the attorneys who I've been

   14     working with on the site visit.             Okay.
   15                 So let's begin then with how to address Ms. Kopacz's
   16     report and testimony.         The first question I raised is who

   17     will discuss -- who will conduct Ms. Kopacz's direct
   18     examination?      I had thought and assumed that I would actually
   19     be the one doing that, and so I would ask whether anyone has

   20     any objection to that.

   21                 MR. CULLEN:      No, your Honor.

   22                 THE COURT:      No objections?       All right.      Then let's

   23     just presume that that's the direction we will proceed in.

   24     Next question is at what point in the proceedings will she

   25     testify, and on this point I welcome your thoughts, anyone.




13-53846-tjt   Doc 6982-8   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 6 of 10
                                                                                          80

     1    agenda.

     2                MR. DECHIARA:          Thank you.
     3                THE COURT:      Before you go, sir, I think it was your

     4    client and maybe AFSCME or one other client -- creditor -- I

     5    can't remember -- raised an objection recently about the plan

     6    impairing the claims of noncity employees.

     7                MR. DECHIARA:          That would be the UAW.       Our claim is

     8    that the plan impairs the accrued pension benefits of

     9    retirees and employees of the library, which is a legally

   10     separate --

   11                 THE COURT:      Yeah.
   12                 MR. DECHIARA:          -- entity, and that's essentially the
   13     gist of our case, that we believe that that's improper,

   14     that --
   15                 THE COURT:      Um-hmm, but wasn't there another
   16     objection from another creditor that came in?

   17                 MR. DECHIARA:          There may have been, but I can't
   18     speak to that.
   19                 THE COURT:      Sir.

   20                 MR. MACK:     Yes, your Honor.         Richard Mack with

   21     AFSCME.     We joined the -- or we've also filed the same

   22     objection for noncity employees at the library.                   We also have

   23     eight, I think it is -- five, rather, employees of the Cobo

   24     Hall Regional Authority, so --

   25                 THE COURT:      Oh, yes.      That was it.      Thank you.         All




13-53846-tjt   Doc 6982-8   Filed 08/22/14    Entered 08/22/14 16:24:26   Page 7 of 10
                                                                                         81

     1    right.    So this is an issue that I'll want the city to

     2    address at some point.             Maybe we'll include it on our list of
     3    issues for you to brief.

     4                MS. LENNOX:      Yes.      We're prepared to do that, your

     5    Honor.

     6                THE COURT:      Okay.      Mr. Gordon.

     7                MR. GORDON:      Yes, your Honor.

     8                THE COURT:      You raised, you know, the very

     9    interesting issue of community hardship.                I do not want and

   10     don't think it relevant to consider a series of retirees or

   11     employees, for that matter, testifying about their individual
   12     hardship.     In my view, neither fair and equitable nor unfair
   13     discrimination has ever in any bankruptcy case considered the

   14     impact of a plan on a creditor; that is to say, the adverse
   15     impact of a plan on a creditor.              The issue always is the
   16     business justification for the treatment from the debtor's

   17     perspective.      Now, to the extent that issue encompasses
   18     consideration of hardship, I would leave it to the proponents
   19     of the plan to argue and prove that, but that's a much -- I

   20     don't know -- broader and differently focused question than

   21     just plain hardship to retirees.

   22                 MR. GORDON:      Yes, your Honor, and I would agree with

   23     you that the colloquy at that status conference a few weeks

   24     ago was focused on much more granular individual data and

   25     obtaining that data.         I just wanted to make sure that it was




13-53846-tjt   Doc 6982-8   Filed 08/22/14    Entered 08/22/14 16:24:26   Page 8 of 10
                                                                                        82

     1    clear or understood by all parties that if there is

     2    information or an argument to be made as to the impact more
     3    broadly on retirees, not just as creditors but more

     4    specifically as a part of the entity that we are trying to

     5    rehabilitate, that that is relevant and fair game in the

     6    context of a Chapter 9.

     7                THE COURT:      Right.     The city will bear the burden of

     8    showing why its very significant discrimination in favor of

     9    retirees and against the financial creditors here in this

   10     case is not unfair.         It knows that.

   11                 MR. GORDON:      Agreed, your Honor, and I just wanted
   12     to make clear that that would be one of the things that could
   13     be identified is if there was, you know, broad impoverishment

   14     of retirees, for example, that's something that could be
   15     considered.
   16                 THE COURT:      All right.

   17                 MR. GORDON:      Thank you, your Honor.
   18                 THE COURT:      Okay.    That was all I had for my agenda
   19     on the record here.         Is there anything that anyone else would

   20     like to bring up before I handle some matters off the record?

   21     Oh, yes.     There was your issue, sir.           Thank you for reminding

   22     me.    Your name again, sir?

   23                 MR. QUINN:      John Quinn, your Honor.

   24                 THE COURT:      Yes.     Mr. Quinn raised the issue of

   25     individual creditors, and by that I assume he means




13-53846-tjt   Doc 6982-8   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 9 of 10
                                                                                         83

     1     unrepresented creditors --

     2                MR. QUINN:      Yes.
     3                THE COURT:      -- having an opportunity to either

     4     present evidence or cross-examine witnesses.                  Anyone have any

     5     thoughts on this question?

     6                MR. HACKNEY:       I do.    I do, your Honor.

     7                THE COURT:      Go ahead.

     8                MR. HACKNEY:       And first let me just express my

     9     personal admiration for Mr. Quinn for coming in here and

    10     standing up for himself.

    11                THE COURT:      Of course.
    12                MR. HACKNEY:       There is the balance that has to be
    13     struck, I think, in terms of protecting people's rights, on

    14     the one hand, and then allowing for an orderly trial, on the
    15     other hand, and what it seems to me might be a good first
    16     step would be to get a sense of how many people there are

    17     that are like Mr. Quinn that actually intend to cross-examine
    18     or introduce evidence, start there and then perhaps engage
    19     the concept of amongst those creditors, much like other

    20     creditors have been required to coordinate and utilize lead

    21     examination methodologies, a steering committee of sorts for

    22     them and a consideration of what time allotment is

    23     appropriate for them --

    24                THE COURT:      Um-hmm.

    25                MR. HACKNEY:       -- but that would be a way to try to




13-53846-tjt   Doc 6982-8   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 10 of 10
